    Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 1 of 21




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT NEW YORK

                                          X
JUSTIN GOLDMAN,                           :
                                          :
                      Plaintiff,          :
                                          :
             v.                           :
                                          :
BREITBART NEWS NETWORK, LLC; HEAVY, :         17 Civ. 3144 (KBF)
INC.; TIME, INC.; YAHOO, INC.; VOX MEDIA, :
INC.; GANNETT COMPANY, INC.; HERALD       :
MEDIA, INC.; BOSTON GLOBE MEDIA           :
PARTNERS, LLC; NEW ENGLAND SPORTS         :
NETWORK, INC.,                            :
                                          :
                      Defendants.         :
                                          X




           REPLY MEMORANDUM IN FURTHER SUPPORT OF
       DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
         Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 2 of 21




                                                  TABLE OF CONTENTS

                                                                                                                                      Page

PRELIMINARY STATEMENT .................................................................................................... 1

I.        THE UNDISPUTED EVIDENCE ESTABLISHES THAT THIS CASE IS
          FUNCTIONALLY INDISTINGUISHABLE FROM PERFECT 10 AND ITS
          PROGENY .......................................................................................................................... 3

          A.         Plaintiff Does Not Dispute Any of the Facts Put Forth by Defendants .................. 3

          B.         Plaintiff Fails to Distinguish this Case from Perfect 10 ......................................... 5

II.       THIS COURT SHOULD APPLY PERFECT 10 AND ITS PROGENY HERE ............... 9

          A.         The Perfect 10 Server Test Is Consistent With the Plain Language of the
                     Copyright Act........................................................................................................ 10

          B.         Courts and Publishers Have Continued to Rely on Perfect 10, Even After the
                     Supreme Court’s Decision in Aereo ..................................................................... 13

          C.         Plaintiff and his Amici Ignore Alternative Remedies ........................................... 14

CONCLUSION ............................................................................................................................. 15




                                                                      i
         Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 3 of 21




                                                  TABLE OF AUTHORITIES

                                                                                                                                        Page(s)

Federal Cases

Adams v. Montefiore Med. Ctr.,
   No. 15-CV-5082 (KBF), 2017 WL 4417695 (S.D.N.Y. Oct. 3, 2017) .....................................5

American Broadcasting Cos. v. Aereo, Inc.,
  134 S. Ct. 2498 (2014) .......................................................................................................13, 14

Authors Guild, Inc. v. HathiTrust,
   755 F.3d 87 (2d Cir. 2014).........................................................................................................8

Authors Guild v. Google, Inc.,
   804 F.3d 202 (2d Cir. 2015).......................................................................................................8

BWP Media USA, Inc. v. T & S Software Assocs., Inc.,
  852 F.3d 436 (5th Cir. 2017) ...................................................................................................14

Capitol Records, LLC v. ReDigi Inc.,
   934 F. Supp. 2d 640 (S.D.N.Y. 2013)......................................................................................10

Daubert v. Merrell Dow Pharmaceuticals, Inc.,
   509 U.S. 579 (1993) ...................................................................................................................3

Dow Jones & Co. v. Ablaise Ltd.,
  606 F.3d 1338 (Fed. Cir. 2010)..................................................................................................6

Flava Works, Inc. v. Gunter,
   689 F.3d 754 (7th Cir. 2012) ...............................................................................................2, 12

Florists’ Transworld Delivery Inc. v. Originals Florist & Gifts Inc.,
   No. 00-C-4458, 2000 WL 1923321 (N.D. Ill. Nov. 9, 2000) ....................................................7

Gershwin Publ’g Corp. v. Columbia Artists Mgmt., Inc.,
   443 F.2d 1159 (2d Cir. 1971)...................................................................................................12

The Leader’s Institute, LLC v. Jackson,
   Civ. Action No. 3:14-cv-3572-B, 2017 WL 5629514 (N.D. Tex. Nov. 22,
   2017) ..........................................................................................................................................9

Live Face on Web, LLC v. Biblio Holdings LLC,
   No. 15 Civ. 4848 (NRB), 2016 WL 4766344 (S.D.N.Y. Sept. 13, 2016) ...............................10

MAI Systems Corp. v. Peak Computer, Inc.,
  991 F.2d 511 (9th Cir. 1993) ...................................................................................................10



                                                                        ii
         Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 4 of 21




Mereigh v. N.Y. & Presbyterian Hosp.,
   No. 16-CV-5583 (KBF), 2017 WL 5195236 (S.D.N.Y. Nov. 9, 2017) ....................................5

MyPlayCity, Inc. v. Conduit Ltd.,
  No. 10 Civ. 1615(CM), 2012 WL 1107648 (S.D.N.Y. Mar. 30, 2012),
  adhered to on recons., 2012 WL 2929392 (S.D.N.Y. July 18, 2012) .......................................9

Perfect 10, Inc. v. Amazon.com, Inc.,
   508 F.3d 1146 (9th Cir. 2007) ......................................................................................... passim

Perfect 10 v. Google, Inc.,
   416 F. Supp. 2d 828 (C.D. Cal. 2006) .................................................................................7, 14

Swatch Grp. Mgmt. Servs. Ltd. v. Bloomberg L.P.,
   756 F.3d 73 (2d Cir. 2014).........................................................................................................8

T.Y. v. N.Y.C. Dep’t of Educ.,
    584 F.3d 412 (2d Cir. 2009).......................................................................................................3

Wells Fargo & Co. v. WhenU.com, Inc.,
   293 F. Supp. 2d 734 (E.D. Mich. 2003).....................................................................................7

Federal Statutes

17 U.S.C.
   § 101...................................................................................................................................10, 11
   § 512(c) ................................................................................................................................2, 15

Copyright Act......................................................................................................................... passim

Rules

Federal Rules of Evidence 702 ........................................................................................................3

Local Civil Rule
   56.1.....................................................................................................................................1, 3, 4
   56.1(b) ........................................................................................................................................3
   56.1(c) ........................................................................................................................................3

Other Authorities

4 Melville B. Nimmer & David Nimmer, Nimmer on Copyright
   § 12B.01[A][2][b] (2017) ..........................................................................................................5

Matthew Humphries, Photobucket Breaks Image Links Across the Internet,
   PCMag (June 30, 2017), https://www.pcmag.me/a/2519358 ..................................................15

SPORTS ILLUSTRATED Web Site and Application Terms and Conditions of Use,
   https://subscription.timeinc.com/storefront/privacy/si/privacy_terms_service.html ...............15


                                                                        iii
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 5 of 21


                                PRELIMINARY STATEMENT

       Defendants1 put forward evidence confirming what they repeatedly told Plaintiff before

he even filed this lawsuit: that Defendants’ embedding of tweets using Twitter’s embed code was

functionally and technologically indistinguishable from the in-line linking that the Ninth Circuit

found to be non-infringing in Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1156 (9th Cir.

2007) (“Perfect 10”).

       In opposing Defendants’ motion, Plaintiff does not dispute any of Defendants’ proffered

facts or evidence. He does not dispute Defendants’ description of the functionality of their

websites or the mechanics of embedding content from third-party websites like Twitter. He does

not assert that Defendants hosted or transmitted his Photo from their servers. He does not

dispute that Defendants, instead, transmitted text-based source code containing HTML

instructions that directed the web browser software of users visiting Defendants’ websites to

retrieve audio-visual content—including Plaintiff’s Photo—directly from the third-party sites

that host that content. Indeed, Plaintiff did not even submit a response to Defendants’ Local

Civil Rule 56.1 Statement of Undisputed Facts, instead submitting his own statement of facts that

relies on Defendants’ Statement and evidence.

       Because there are no disputes of material fact, the Court can proceed directly to the

straightforward legal question before it: whether to reject the long-established Perfect 10

framework for assessing whether a website publisher is liable for direct infringement when it

embeds content hosted by, transmitted by and, at all times controlled by third parties. While in-

line linking to third-party content might constitute contributory infringement under some

circumstances (not present here), where the content is transmitted directly from a third party to
1
 Capitalized terms bear the same definitions as in Defendants’ Memorandum of Law in Support of their
Motion for Summary Judgment (ECF No. 121) (“Defs. Mem.”). Defendant Herald Media, Inc. was
originally among the movants, but the claims against it have been dismissed. See ECF No. 141.



                                                  1
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 6 of 21


the user, and the website publisher “doesn’t touch the data stream,” there can be no direct

infringement by the website publisher. Flava Works, Inc. v. Gunter, 689 F.3d 754, 761 (7th Cir.

2012). See Defs. Mem. at 25-31 (discussing Perfect 10 progeny). As the Perfect 10 court held,

this conclusion “comports with the language of the Copyright Act”:

       a computer owner that stores an image as electronic information and serves that
       electronic information directly to the user (“i.e., physically sending ones and
       zeroes over the [I]nternet to the user's browser” . ..) is displaying the electronic
       information in violation of a copyright holder's exclusive display right. . . .
       Conversely, the owner of a computer that does not store and serve the electronic
       information to a user is not displaying that information, even if such owner in-line
       links to or frames the electronic information.

508 F.3d at 1159 (citations omitted).

       Plaintiff’s rhetoric thus stands reality on its head when he insists that applying this

consistent line of case law would “enshrine into (judge-made) law a sweeping industry-wide

immunity for all manner of copyright theft on the Internet” found “[n]owhere else in this nation’s

copyright jurisprudence.” Opp. at 1, 9. On the contrary, Defendants are not asking the Court to

“judicially create[]” a new “industry-wide immunity,” id. at 9—they are asking the Court to

leave the status quo in place. Indeed, that status quo already includes multiple options for a

copyright owner to address alleged infringement of which Plaintiff failed to avail himself,

including sending a take-down notice to Twitter pursuant to 17 U.S.C. § 512(c) and enforcing

against the individuals who actually uploaded the Photo to the Web—who, based on Plaintiff’s

Declaration, appear likely to have been friends of his.

       Plaintiff spends much of his opposition attacking an argument that Defendants have never

made: that Perfect 10 is solely applicable to embedding content from social media. He submits

a declaration from a “professional ‘web developer’” to show that content can be embedded from

a variety of websites, including those owned and operated by the Defendants. Declaration of




                                                 2
       Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 7 of 21


Ryan La Corte (“La Corte Decl.”) ¶¶ 1, 4.2 But Defendants never asserted otherwise. The

Perfect 10 decision plainly contemplates that the “server test” may have broad applicability, and

the cases embracing that approach encompass a wide range of situations, from news reporting to

virtual assistant video software. However, the Court need not decide whether a website called

“Great Cartoons from the New Yorker” comports with the Copyright Act. All that is before the

Court is the Defendants’ (industry-standard) embedding of tweets using Twitter’s own embed

code, which allows Defendants to provide links to content hosted and transmitted by Twitter.

See Defs. 56.1 Stmt. ¶¶ 25-26. On the undisputed evidence in the record, such embedding falls

squarely within the scope of Perfect 10 and its progeny.

I.      THE UNDISPUTED EVIDENCE ESTABLISHES THAT THIS CASE IS
        FUNCTIONALLY INDISTINGUISHABLE FROM PERFECT 10 AND ITS
        PROGENY

        A.      Plaintiff Does Not Dispute Any of the Facts Put Forth by Defendants

        As an initial matter, Plaintiff does not dispute any of the facts in Defendants Rule 56.1

Statement, as he did not respond to Defendants’ submission. Local Civil Rule 56.1(b) (opposing

party must “include a correspondingly numbered paragraph responding to each numbered

paragraph in the [56.1] statement of the moving party.”) Instead, he submitted his own

“Statement of Undisputed Facts” that does not contradict Defendants’ 56.1 Statement and,

indeed, cites extensively to Defendants’ 56.1 Statement as the “evidence” supporting Plaintiff’s

factual assertions. See Pl. 56.1 Stmt. ¶¶ 7, 14-17, 20-25. Under the Local Rules, the statements

set forth in Defendants’ 56.1 Statement “will be deemed to be admitted for purposes of the

motion.” Local Civil Rule 56.1(c). See T.Y. v. N.Y.C. Dep’t of Educ., 584 F.3d 412, 418 (2d Cir.

2009) (“A nonmoving party’s failure to respond to a Rule 56.1 statement permits the court to

2
  La Corte’s declaration is in the vein of expert testimony, but Plaintiff makes no effort to establish that
his testimony meets the standards of Fed. R. Evid. 702. Because the testimony is ultimately irrelevant to
the merits of the motion, it is unnecessary for the Court to engage in any Rule 702/Daubert inquiry here.



                                                      3
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 8 of 21


conclude that the facts asserted in the statement are uncontested and admissible.”).

       Even setting aside Local Civil Rule 56.1, Plaintiff pointedly does not dispute any of

Defendants’ evidence demonstrating the functionality of their websites and the mechanics of

embedding links to content stored and served by third-party websites. In their motion papers,

Defendants demonstrated with sworn testimony and authenticated printouts of the relevant

webpages and source code that, when each Defendant embedded a tweet containing Plaintiff’s

Photo, the Photo was not stored on or transmitted from Defendants’ servers. See Defs. 56.1

Stmt. ¶ 38. Instead, Defendants merely communicated the text of the webpage and HTML

instructions directing users’ browser software to connect directly to Twitter’s servers to retrieve

from Twitter the content of the embedded tweet. Id. ¶¶ 35-36. Plaintiff’s Photo was transmitted

directly from Twitter’s servers to each user visiting the page. Id. ¶ 39.

       Despite being provided the opportunity by the Court to take discovery to challenge any of

these facts, Plaintiff simply falls back on hyperbolic rhetoric and an apparent willful misreading

of the technology and case law. For example, Plaintiff does not dispute that Defendants transmit

source code containing HTML instructions to the browser programs of users who visit their

websites. Instead, he states that “[n]o ‘instructions’ upon which each user could choose to act

with respect to each defendant’s display of the Photo were provided to each defendant’s users”

(and cites to Defendants’ 56.1 Statement in support). Pl. 56.1 Stmt. ¶ 17 (emphasis added).

Based on this assertion, he repeatedly refers to the embedded tweets at issue as “instructions-

free.” But, as discussed further below, the “instructions” relevant to the direct infringement

inquiry in Perfect 10 were not written instructions to users—they were the HTML instructions to

users’ browser programs. It was not the presence or absence of “instructions” in general that

affected the Perfect 10 analysis—it was the fact that Google (like the Defendants here)




                                                 4
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 9 of 21


transmitted only HTML instructions, and not copies of the images themselves.

       This Court has held that, where a non-moving plaintiff “neither admits nor denies a fact,

but rather (1) adds additional facts, (2) quibbles with defendants’ characterization of the fact; or

(3) makes legal arguments,” the facts asserted by Defendants are “deemed admitted to the extent

they are properly supported.” Adams v. Montefiore Med. Ctr., No. 15-CV-5082 (KBF), 2017

WL 4417695, at *1 n.1 (S.D.N.Y. Oct. 3, 2017); see also Mereigh v. N.Y. & Presbyterian Hosp.,

No. 16-CV-5583 (KBF), 2017 WL 5195236, at *1 n.3 (S.D.N.Y. Nov. 9, 2017) (holding that

where nonmoving party “‘disputes’ a fact in form,” but “does not actually controvert the fact in

substance,” the asserted facts will be deemed admitted). That is precisely what Plaintiff does

here, and Defendants’ asserted facts are all well supported by testimony and evidence.

Defendants’ facts should therefore be deemed admitted.

       B.      Plaintiff Fails to Distinguish this Case from Perfect 10

       The Ninth Circuit’s holding in Perfect 10 on direct infringement of the display right is in

fact straightforward, notwithstanding Plaintiff’s efforts to cloud the issue. The leading treatise

on copyright law, after noting that the Ninth Circuit first held that Google violated the display

right when it communicated thumbnail images stored on its own servers, boils the crucial aspects

of the decision down to the following:

       Turning to the same claim against Google for the full-size infringing images,
       however, parallel reasoning exonerated Google, which did not store those
       photographic images. Instead of being responsible for the images’ unauthorized
       display, Google merely framed in-line linked images that, in turn, appeared on
       users’ screens. Adverting to the statutory definition of “copy,” the Ninth Circuit
       concluded that “Google does not have any ‘material objects . . . in which a work
       is fixed . . . and from which the work can be perceived, reproduced, or otherwise
       communicated’ and thus cannot communicate a copy.”

4 Melville B. Nimmer & David Nimmer, Nimmer on Copyright § 12B.01[A][2][b] & n.122

(2017) (noting in footnote the Ninth Circuit’s explanation that “communicating a copy” involves




                                                  5
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 10 of 21


providing HTML instructions that give the user’s browser an address for the image). A review of

the undisputed record in the instant case confirms that the same key facts that animated the

Perfect 10 holding are present here:

               Like Google, Defendants’ servers “do not store the photographic images,” and
                thus Defendants “do[] not have a copy of the images for purposes of the
                Copyright Act,” and “cannot communicate a copy.” 508 F.3d at 1160-61. See
                Defs. 56.1 Stmt. ¶ 38.

               Like Google, “[i]nstead of communicating a copy of the image, [Defendants]
                provide[d] HTML instructions that direct[ed] a user’s browser to a website
                publisher’s computer that stores the full-size photographic image.” 508 F.3d at
                1161. See Defs. 56.1 Stmt. ¶¶ 35-36.

               As in Perfect 10, the HTML code transmitted by Defendants “merely gives the
                address of the image to the user’s browser”; “[t]he browser then interacts with the
                computer that stores the infringing image”; and “[i]t is this interaction that causes
                an infringing image to appear on the user’s computer screen.” 508 F.3d at 1161.
                See Defs. 56.1 Stmt. ¶¶ 15, 36-39.

        Much of this case stems from Plaintiff’s misapprehension of what the court meant when

it referred to “instructions.” 508 F.3d at 1155. Although Plaintiff waxes incredulous that the

Ninth Circuit could have been referring to “computer programming that is entirely self-executing

and only known to defendants themselves, with no ability on the part of anyone else (including

their users) to do anything with or about them,” Opp. at 34, the court was clear it was indeed

referring to the underlying “HTML instructions” (not verbal, English instructions perceivable by

users) that are “interpret[ed]” by the “user’s browser program” (not “acted on by [Google’s]

visitors,” Opp. at 14). 508 F.3d at 1155 (emphases added).3 Courts have noted—and the

undisputed evidence confirms—that “HTML code does not itself appear on the screen; instead, it

contains the instructions that generate the text, pictures and links that appear[] on the screen.”

3
  Courts frequently refer to the HTML code underlying a website as “instructions.” For example, in 2010,
the Federal Circuit—noting that by 1995, “HTML was well known to persons of ordinary skill in the art
of Web design”—defined HMTL as “a language embodying sets of instructions that control the format of
a Web page displayed on the browser application of a user’s PC.” Dow Jones & Co. v. Ablaise Ltd., 606
F.3d 1338, 1340 (Fed. Cir. 2010) (emphasis added).



                                                   6
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 11 of 21


Florists’ Transworld Delivery Inc. v. Originals Florist & Gifts Inc., No. 00-C-4458, 2000 WL

1923321, at *4 (N.D. Ill. Nov. 9, 2000) (emphasis added).4 See Defs. 56.1 Stmt. ¶¶ 15-18.

Whether Plaintiff accepts it or not, Perfect 10’s discussion of “HTML instructions” refers

precisely to the “self-executing” “computer programming” present here. Opp. at 34.

        Plaintiff also continues to insist—despite undisputed evidence to the contrary—that

Defendants’ embedding of tweets was unlike Google’s in-line linking because Google

“communicate[d] only the HTML address of the copy [of an image].” 508 F.3d at 1161.

Plaintiff asks rhetorically, “what did defendants ‘communicate’ in this case? An ‘HTML

address’ … or the full ‘image’ …?” Opp. at 34. But Plaintiff ignores the fact that, in Perfect 10,

when Google “communicate[d] only [an] HTML address,” users saw this:




See Perfect 10 v. Google, Inc., 416 F. Supp. 2d 828, 860 (C.D. Cal. 2006). The Perfect 10 court

held the above image was not a display by Google because the copy of the image was transmitted

directly from the underlying host website to the user, and Google only transmitted an HTML




4
  See also Wells Fargo & Co. v. WhenU.com, Inc., 293 F. Supp. 2d 734, 747 (E.D. Mich. 2003)
(explaining that “[w]hen a user accesses a website,” “[a]ll that exists on the computer screen is an image
generated by the user’s web browser based on instructions received from the text-based HTML code of the
webpage” (emphasis added)).



                                                    7
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 12 of 21


document instructing the user’s browser program to make that direct connection. The undisputed

evidence shows that exactly the same process took place here. Defs. 56.1 Stmt. ¶¶ 37-40.

        In trying to distinguish Perfect 10, Plaintiff also harps on factual details irrelevant to the

court’s holding on in-line linking. In addition to its conclusions on direct infringement for

Google’s transmittal of thumbnail images and in-line linking of full-sized images, the Perfect 10

court held Google’s display of the thumbnail images was protected as fair use and examined

whether Google could be secondarily liable for copyright infringement. 508 F.3d at 1163-77.5

        It goes without saying that a fact relevant to a fair use or secondary infringement inquiry

may or may not be relevant to a direct infringement analysis. The fact that Google

“indiscriminately swept-up photos,” Opp. at 14, with no ability to control the infringing activities

of third-party websites, was clearly relevant to the vicarious liability inquiry, see 508 F.3d at

1174, but had no bearing on the court’s analysis of whether in-line linking constituted direct

infringement. Similarly, the fact that the case arose in the context of an “Internet search engine

… facilitating access” to images was central to the court’s conclusion that Google’s display of

the thumbnail images was protected as fair use. See, e.g., id. at 1166 (finding fair use based on

the “significantly transformative nature of Google’s search engine, particularly in light of its

public benefit”). But, despite Plaintiff’s effort to limit the decision to the “search engine”

context, that fact does not come up at all in the court’s discussion of whether Google was liable

for direct infringement when it in-line linked to full-sized images located on third-party websites.

Indeed, it is perfectly clear from the opinion that the search engine functionality did not factor

5
  The fair use portion of the Perfect 10 decision has been cited with approval by the Second Circuit in
three different major fair use decisions. See Authors Guild v. Google, Inc., 804 F.3d 202, 216-17, 227 &
n.17, 19 (2d Cir. 2015); Swatch Grp. Mgmt. Servs. Ltd. v. Bloomberg L.P., 756 F.3d 73, 84, 90 (2d Cir.
2014); Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 95, 97 (2d Cir. 2014). Plaintiff argues that
Defendants have “abandon[ed] the notion that the full Perfect 10 opinion should be adopted by this
Court.” Opp. at 13 n.10. Setting aside that Defendants never suggested that all of Perfect 10’s holdings
are relevant to this case, the Second Circuit has embraced the fair use portion of the Perfect 10 decision.



                                                     8
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 13 of 21


into that part of the Court’s decision. Finally, in holding that the “server test” approach to direct

liability for third-party-hosted content “comports with the language of the Copyright Act,” id. at

1160, the court did not rely on—or even allude to—the facts that: (1) the images at issue

appeared as the result of “independent volitional searches by its third-party users”; (2) users were

given information (which Plaintiff calls “instructions”) for how they could view the full-size

photos; or (3) users had to “volitionally” “click” on the thumbnails to see full-sized images.

Opp. at 13-14.6

        Plaintiff cannot create a genuine issue of material fact by repeating his “click-free,

instructions-free, user-discretion-free” mantra when those “distinctions” have nothing to do with

Perfect 10’s holding.

II.     THIS COURT SHOULD APPLY PERFECT 10 AND ITS PROGENY HERE

        Because the undisputed record shows plainly that the provision of a link to a Photo from

Twitter by Defendants is functionally identical to the in-line linking by Google in Perfect 10, the

only issue for the Court to decide is whether to apply Perfect 10 and its progeny here.

        Plaintiff (and his amici) struggle to show either that Perfect 10 was wrongly decided or

that the many nearly-unanimous7 decisions adopting the Ninth Circuit’s approach (including

multiple cases in this District8) are all distinguishable. But the Perfect 10 approach makes


6
  Plaintiff asserts that Defendants did not “frame” his Photo in a separate “window.” Opp. at 11. This is
technically incorrect, as embedded Tweets do appear in a light-gray frame, but regardless, the court’s
holding was ultimately not based on the fact that the full-sized images happened to be “framed.”
7
  But see The Leader's Institute, LLC v. Jackson, Civ. Action No. 3:14-cv-3572-B, 2017 WL 5629514, at
*3 (N.D. Tex. Nov. 22, 2017), finding that where a party “framed” the entirety of a competitor’s website
such that “[it] caused [the competitor’s] website to appear within and under the plaintiffs’ registered
domain names,” the framing violated the original website owner’s copyright. This case distinguished
Perfect 10 (in conclusory fashion) and rejected the Ninth Circuit’s holding that an infringer must have a
copy of the underlying work to directly infringe the display right. For all of the reasons set forth in
Defendants’ opening Memorandum of Law and this Reply, this decision flies in the face of the language
and logic of Perfect 10 and the Copyright Act and is wrongly decided.
8
  See MyPlayCity, Inc. v. Conduit Ltd., No. 10 Civ. 1615(CM), 2012 WL 1107648 (S.D.N.Y. Mar. 30,



                                                    9
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 14 of 21


sense—particularly in the context of embedding content from third-party social media sites—and

is fully consistent with the language and structure of the Copyright Act. And whatever

distinctions can be drawn between the post-Perfect 10 cases in this District and this case, they all

support the basic principle that merely providing a link to (whether via in-line link, embedding or

otherwise) content hosted and controlled by third parties does not constitute direct infringement.

        A.      The Perfect 10 Server Test Is Consistent With the Plain Language of the
                Copyright Act

        Perfect 10’s holding that merely providing a link to content served from a third-party

server does not directly infringe the display right is grounded squarely in the definition of

“display” in the Copyright Act. As the Ninth Circuit noted, to “display” a work is to “show a

copy of it, either directly or by means of a film, slide, television image, or any other device or

process.” 17 U.S.C. § 101. The “copy” of a digital image is the computer disk/drive that

physically stores the image file.9 In order to “show” that copy, a defendant would have to use a

“device or process” to “fill [a] computer screen with the photographic image stored on that

computer,” or otherwise “communicat[e] the stored image electronically to another person’s

computer.” Id. (emphasis added). A website publisher that merely links to an image hosted and

controlled by third parties is not showing a “copy” of the image because it doesn’t have any copy




2012), adhered to on recons., 2012 WL 2929392 (S.D.N.Y. July 18, 2012); Live Face on Web, LLC v.
Biblio Holdings LLC, No. 15 Civ. 4848 (NRB), 2016 WL 4766344, at *1 (S.D.N.Y. Sept. 13, 2016);
Capitol Records, LLC v. ReDigi Inc., 934 F. Supp. 2d 640 (S.D.N.Y. 2013).
9
  Perfect 10’s citation to its earlier decision in MAI Systems Corp. v. Peak Computer, Inc., 991 F.2d 511
(9th Cir. 1993), was not an “astonishing non-sequitur.” Opp. at 19. The court cited MAI Systems for the
now established principle that a file saved on a computer or storage device constitutes a “copy” because
the file is “fixed” in the computer’s memory. See Perfect 10, 508 F.3d at 1160. The court did not use the
discussion of the distribution right in MAI Systems to define the contours of the display right—it used
MAI Systems to define a “copy” in the context of computer files. Plaintiff does not dispute that the file
containing his Photo, as saved on a computer, constitutes a “copy” of the work, nor that Defendants never
stored or transmitted a copy of his work when they embedded links to tweets containing the Photo.



                                                   10
     Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 15 of 21


to show. Nothing in the Copyright Act or its legislative history (as discussed by Plaintiff’s

amici) supports the imposition of direct liability on a party that never touches a copy of the work.

       Plaintiff’s argument distorts the Copyright Act’s language. He claims that, because a

display of his Photo is taking place when Defendants embedded links to tweets containing his

Photo, and because embedding is a type of “process,” Defendants are necessarily the ones

making the public display of the Photo. But the statute’s definitions require more than a

“showing” and a “process”—to “display” a work, the defendant must “show a copy” of the work

“by means of” that “process.” 17 U.S.C. § 101 (emphasis added). Linking by embedding or in-

line linking may be a “process,” but it is a “process” of providing information and instructions

that merely facilitate a third party’s (i.e., the server that actually hosts and transmits the image)

showing of the work. It is the third party that does the displaying. As Perfect 10 held, merely

“facilitat[ing]” access to an infringing image “raises only contributory liability issues, and does

not constitute direct infringement of the copyright owner’s display rights.” 508 F.3d at 1161.

       Plaintiff misreads Perfect 10 as requiring that, in order to display a work, a defendant

must “first make its own copy of the copyrighted work.” Opp. at 20. But the Ninth Circuit says

nothing about creating a new copy—it just requires that the defendant have a copy to show,

regardless of who created it. Plaintiff’s amici likewise read the decision as turning on the

“physical location” of the work. Pl. Amici Br. at 3, 4. But the issue in Perfect 10 was not the

physical location of the servers hosting the allegedly infringing images—it was the fact that

those servers were controlled by third parties, and not Google. Google thus did not communicate

or transmit the copies of the images to users.

       Plaintiff’s amici ultimately argue that the “only question” for direct infringement of the

display right is “whether the defendant caused the work to be viewed by members of the public.”




                                                  11
     Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 16 of 21


Pl. Amici Br. at 5 (emphasis added). But if Congress wanted to define “display” of a work to

mean “causing it to be viewed by others,” it could have done so. Instead, “display” of a work

requires that the defendant “show” a “copy,” which Defendants did not do here. As courts

applying Perfect 10 have recognized, to impose direct infringement liability on anyone who

merely “causes” the work to be viewed by others would “blur the distinction between direct and

contributory infringement.” Flava Works, 689 F.3d at 761. Indeed, “causing” infringement is

part of the traditional definition of contributory infringement. See, e.g., Gershwin Publ’g Corp.

v. Columbia Artists Mgmt., Inc., 443 F.2d 1159, 1162 (2d Cir. 1971) (defining contributory

infringer as “one who, with knowledge of the infringing activity, induces, causes or materially

contributes to the infringing conduct of another” (emphasis added)).

       To translate the concept to the analog world, if a building owner hung a large poster of

Plaintiff’s Photo on the outside wall of a building, the building owner would be potentially liable

for directly infringing Plaintiff’s public display right. But if another person stood on the street in

front of the building and stopped a passerby to show them the poster hung by the building owner,

that person is not displaying the poster under the Copyright Act. The building owner had the

copy of the Photo; the building owner posted it in a place where it could be seen by the public;

and the building owner had control at all times over whether the Photo would continue to be

shown or taken down. The person on the street was never in a position to “show” the copy of the

Photo, even if they “caused” the Photo “to be viewed” by pedestrians who may not have

otherwise looked up when they walked by. Conceivably, the person on the street could be liable

for contributory infringement (though only if, at a minimum, they were aware that the building

owner was not authorized to display the Photo), but that person was never in control over the

process of showing the Photo to the public. Indeed, if the building owner removed the poster,




                                                 12
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 17 of 21


the person on the street could keep drawing pedestrians’ attention to the building, but they would

be looking at an empty wall.

        That is exactly what happens when a website publisher provides embedded links to

content hosted and controlled by a third party. In Perfect 10, when Google transmitted text-

based HTML instructions to the browser programs of its users directing the viewers to the

underlying sites hosting the images, the court held the “HTML instructions d[id] not themselves

cause infringing images to appear on the user’s computer screen.” 508 F.3d at 1161. Rather, it

was the direct “interaction” between the user’s computer and the hosting computer that “cause[d]

an infringing image to appear.” Id. Google’s “facilitat[ion]” of, or “assistance” with, that

interaction “raise[d] only contributory liability issues.” Id. As with the building owner, the

underlying site is in control over whether the content will be displayed. Thus, here, when the

tweets containing the Photo were removed, the Photo instantly disappeared from any sites where

the tweets were embedded.10 See Defs. 56.1 Stmt. ¶ 44.

        B.      Courts and Publishers Have Continued to Rely on Perfect 10, Even After the
                Supreme Court’s Decision in Aereo

        Plaintiff’s amici argue that Perfect 10 is “inconsistent” with the Supreme Court’s

“intervening” decision in American Broadcasting Cos. v. Aereo, Inc., 134 S. Ct. 2498 (2014).

But Aereo has no bearing on the issues in this case. That case involved a company that used a

10
  Plaintiff inadvertently illustrates this principle perfectly with his examples of a “Non-Absurd Solution.”
As the source code for those articles (which Plaintiff holds up as what Defendants should have done)
confirms, the publishers, in fact, did exactly the same thing as Defendants: They embedded tweets
containing the Photo hosted on Twitter’s servers. See Supp. Decl. of Lacy H. Koonce, III ¶¶ 4-7 and Exs.
24-25. In fact, the Boston Magazine article embeds the very same Rob H Tweet (containing the Photo)
embedded by several Defendants here. The reason the embedded tweets in the Washington Post and
Boston Magazine articles do not now show the Photo on the page is not because the publishers followed a
different practice, but because the tweets containing the Photo were removed at some point prior to the
date Plaintiff took a screenshot of the articles! Because—like Defendants here—all those publishers
provided was HTML embed code, not the underlying content itself, once the content has been removed
from the server on which it resided, it no longer appears when a user visits the web page for the articles.
Plaintiff was apprised of this reality when he tried the same argument in his opposition to the motion to
dismiss, but, heedless of the facts, he nevertheless rehashes the argument at the summary judgment stage.



                                                    13
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 18 of 21


system of tiny antennas to stream broadcast television signals to subscribers online without

paying the retransmission rates imposed on cable providers. The Supreme Court held that the

company infringed the television networks’ public performance rights because, despite the

design of the system, the service was “for all practical purposes a traditional cable system,” and

Congress had previously amended the Copyright Act specifically to address cable network

retransmissions. Id. at 2507. But the Court was careful to cabin its “limited holding” to the

specific technology at issue, and expressly disclaimed any application of the decision to

“technologies not before [the Court].” Id. at 2510-11. See also BWP Media USA, Inc. v. T & S

Software Assocs., Inc., 852 F.3d 436, 442 (5th Cir. 2017) (noting that the Court “limited its

holding to the technology at issue”). No court has read Aereo as limiting or undermining Perfect

10.

       Moreover, Aereo involved a defendant exploiting an apparent technological loophole in

an effort to disrupt a well-established (and heavily-regulated) industry. Here, embedding third-

party content is and has been integral to how information and content are shared online. See

generally EFF Amici Br. at 8-10. Even Plaintiff’s own witness acknowledges that social media

sites, “like Twitter, encourage and facilitate embedding.” La Corte Decl. ¶ 3. As the district

court in Perfect 10 recognized, holding that this now commonplace, widely encouraged practice

constitutes direct copyright infringement, “would cause a tremendous chilling effect on the core

functionality of the web—its capacity to link, a vital feature of the internet that makes it

accessible, creative, and valuable.” 416 F. Supp. 2d at 840.

       C.      Plaintiff and his Amici Ignore Alternative Remedies

       It bears repeating that a content owner is not helpless to prevent embedding of its works

on other websites. Plaintiff (and his “expert”) invoke the possibility of photos from Sports




                                                 14
      Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 19 of 21


Illustrated’s website (which is published by defendant Time) being embedded across the Internet.

See Opp. at 6. But Plaintiff ignores that the Terms of Service for sites like sportsillustrated.com

can and do expressly prohibit this practice, regardless of whether it is an infringement of

copyright.11 And sites can employ technical measures to block their content from being

embedded elsewhere. Recently, a popular image hosting service changed its pricing structure so

that users were required to pay a subscription fee if they wanted the images they uploaded to be

embeddable on other websites. See Matthew Humphries, Photobucket Breaks Image Links

Across the Internet, PCMag (June 30, 2017), https://www.pcmag.me/a/2519358. The hosting

service did not seek to hold each of the millions of sites embedding the photos liable as direct

infringers; the service simply altered the site’s code, so that any photo embedded from a non-

paying account was replaced with a generic placeholder image. See id.12

        And of course, Plaintiff also retained the option to use the remedy provided by Congress

of providing notice of infringement to Twitter or any other hosting service pursuant to 17 U.S.C.

§ 512(c), or to go after the actual infringers who first uploaded the Photo to the Web—who, based

on Plaintiff’s Declaration, appear likely to have been friends of his. The fact that these

individual users do not have the perceived deep pockets of a publication does not justify

rewriting the Copyright Act and upending a decade of case law.

                                            CONCLUSION

        This Court should grant Defendants’ motion for partial summary judgment and dismiss

the claims as to any uses of the Photo that arise solely from embedded tweets.


11
   See SPORTS ILLUSTRATED Web Site and Application Terms and Conditions of Use, ¶ 11,
https://subscription.timeinc.com/storefront/privacy/si/privacy_terms_service.html (“[Y]ou agree that ...
you are not permitted to link directly to any image hosted on the Web Site or our services, such as using
an ‘in-line’ linking method to cause the image hosted by us to be displayed on another web site.”).
12
   By Plaintiff’s logic, when the hosting service changed its code, the embedding websites were instantly
transformed from displayers to non-displayers despite taking no action to alter their websites.



                                                   15
    Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 20 of 21


Dated: New York, New York         Respectfully submitted,
       November 29, 2017

                                  By: /s/ Regina Schaffer-Goldman
                                     Regina Schaffer-Goldman (RS-0630)
                                  MORGAN, LEWIS & BOCKIUS LLP
                                  101 Park Avenue
                                  New York, New York 10178
                                  Tel.: (212) 309-6000
                                  regina.schaffer-goldman@morganlewis.com

                                  Lawrence T. Stanley, Jr. (pro hac vice)
                                  MORGAN, LEWIS & BOCKIUS LLP
                                  One Federal Street
                                  Boston, MA 02110
                                  Tel. (617) 341-7700
                                  lawrence.stanley@morganlewis.com

                                  Attorneys for Defendant Boston Globe Media
                                  Partners LLC

                                  By: /s/ Robert Penchina
                                     Robert Penchina
                                  BALLARD SPAHR, LLP
                                  919 Third Avenue, 37th Floor
                                  New York, NY 10022
                                  Tel.: (212) 850-6109
                                  penchinar@ballardspahr.com

                                  Attorneys for Defendant Gannett Company, Inc.

                                  By: /s/ Stephen M. Kramarsky
                                     Stephen M. Kramarsky (SK-6666)
                                  DEWEY PEGNO & KRAMARSKY LLP
                                  777 Third Avenue, 37th Floor
                                  New York, NY 10017
                                  Tel.: (212) 943-9000
                                  skramarsky@dpklaw.com

                                  Attorneys for Defendant New England Sports
                                  Network




                                    16
Case 1:17-cv-03144-AJN-SN Document 155 Filed 11/29/17 Page 21 of 21


                              By: /s/ Lacy H. Koonce, III
                                 Lacy H. Koonce, III (LK 8584)
                                 Eric J. Feder (EF 8016)
                              DAVIS WRIGHT TREMAINE LLP
                              1251 Avenue of the Americas, 21st Floor
                              New York, NY 10020
                              Tel.: (212) 489-8230
                              Fax: (212) 489-8340
                              Email: lancekoonce@dwt.com
                              Email: ericfeder@dwt.com

                              Attorneys for Defendant Time Inc.

                              By: /s/ Thomas P. Lane
                                 Thomas Patrick Lane
                              WINSTON & STRAWN LLP
                              200 Park Avenue
                              New York, NY 10166
                              Tel.: (212) 294-6700
                              Fax: (212) 294-4700
                              tlane@winston.com

                              Jennifer A. Golinveaux (pro hac vice)
                              WINSTON & STRAWN LLP
                              101 California Street
                              San Francisco, CA 94111
                              Tel.: (415) 591-1400
                              jgolinveaux@winston.com

                              Attorneys for Defendant Yahoo Holdings, Inc.

                              By: /s/ Marc A. Lebowitz
                                    Marc A. Lebowitz (ML 7381)
                                    Keith M. Getz (KG 6091)

                              LEBOWITZ LAW OFFICE LLC
                              747 Third Avenue, 23rd Floor
                              New York, NY 10017
                              Tel.: (212) 682-6818
                              marc@lebolaw.com

                              Attorneys for Defendant Heavy, Inc.




                                17
